             CASE 0:24-cv-00110-DWF-DTS Doc. 41 Filed 08/02/24 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


 Lori Saroya,                                      Court File No. 24-CV-110 (DWF/DTS)

                  Plaintiff,
                                                  DECLARATION OF ZACHARY
 v.                                                ALTER IN OPPOSITION TO
                                                PLAINTIFF’S MOTION TO COMPEL
 CAIR Foundation, Inc. d/b/a
 Council on American-Islamic Relations &
 CAIR,

                  Defendant.


        I, Zachary Alter, declare pursuant to 28 U.S.C. § 1746 as follows:

        1.       I am an attorney at Felhaber Larson. I am one of the attorneys representing

CAIR Foundation, Inc. d/b/a Council on American-Islamic Relations & CAIR (“CAIR”).

I make this declaration in support of CAIR’s Memorandum in Opposition to Plaintiff’s

Motion to Compel.

        2.       CAIR produced 55 pages of documents in this case in May 2024, and is in

the process of reviewing and producing additional documents.


        I declare under penalty of perjury that everything I have stated in this Declaration

is true and correct.

Dated: August 2, 2024                                    /s/ Zachary A. Alter
                                                         Zachary A. Alter
Executed in Hennepin County, Minnesota




4246717.v1
